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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

  Case No. 13-CV-01300-MSK-MJW                                Date: January 31, 2014

  Case Title: Colorado Outfitters Association, et al. v. Hickenlooper

                                         ADDENDUM A
                                      JOINT WITNESS LIST

                 WITNESS                              TIME ESTIMATED FOR EXAMINATION

  Timothy Brough                                                        105 minutes (60/45)

  John Burrud                   ______                                  105 minutes (60/45)

  Shayne Heap_______                                                    75 minutes (60/15)

  Terry Maketa______                                                    75 minutes (60/15)

  Major Ronald Abrams___                                                105 minutes (75/30)

  Elisa Dahlberg_____                                                   90 minutes (60/30)

  Bob Hewson_______                                                     105 minutes (75/30)

  Dylan Harrell____________                                             60 minutes (45/15)

  Nick Colglazier______                                                 90 minutes (60/30)

  Doug Hamilton                                                         105 minutes (60/45)

  James Spoden                                                          75 minutes (60/15)

  Ron Sloan_______________                                              60 minutes (45/15)

  Daniel Oates____________                                              90 minutes (75/15)

  Daniel Montgomery_____________ _                                      45 minutes (30/15)

  Lorne Kramer___________                                               45 minutes (30/15)

  Roger Salzberger                                                      60 minutes (45/15)

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  Ernest Moore, MD________                           90 minutes (60/30)

  Jennifer Longdon__________                         45 minutes (30/15)

  Expert Kevin L. Davis                              150 minutes (75/75)

  Expert Massad Ayoob                                225 minutes (105/120)

  Expert Dr. Gary Kleck, Ph.D.                       225 minutes (105/120)

  Expert Michael Shain                               225 minutes (135/90)

  Expert Dr. Jeffrey Zax, Ph.D.                      180 minutes (120/60)

  Expert Daniel Webster                              180 minutes (120/60)

  Expert Douglas Fuchs                               210 minutes (120/90)

  Expert John Cerar       _____                      210 minutes (120/90)

  Plaintiff John Cooke                               60 minutes (45/15)

  Justin Smith_________                              60 minutes (45/15)

  Lou Vallario__                                     60 minutes (45/15)

  Jim Crone                                          60 minutes (45/15)

  Michelle Eichler                                   80 minutes (50/30)

  J. Paul Brown_                                     85 minutes (55/30)

  David Bayne                                        75 minutes (45/30)

  David Gill                                         75 minutes (45/30)

  Michael Jones                                      45 minutes (30/15)

  Andrew Logan                                       60 minutes (30/30)

  Cheryl Ann Wilson                                  45 minutes (30/15)__

  Patricia Maisch                                    45 minutes (30/15)__

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  Randy Hampton_____                                         25 minutes (25/10)

  Any witnesses required for authentication of any exhibit




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